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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9          UNITED STATES OF AMERICA,                       CASE NO. CR16-0136-JCC
10                             Plaintiff,                   MINUTE ORDER
11                 v.

12           RUBEN MOTA ALVAREZ,

13                             Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Defendant’s counsel’s notice of withdrawal (Dkt.
18   No. 149). Defendant’s counsel filed the notice with the Court on May 30, 2017. As of the time of
19   this order, Defendant does not have replacement counsel. The Court is waiting on a speedy trial
20   waiver from Defendant in order to rule on the motion to continue trial of codefendants Mota-
21   Alvarez and Barron-Gonzalez. (Dkt. No. 147.) Trial is currently scheduled to commence on July
22   12, 2017. Therefore, the Court DIRECTS the Criminal Justice Act (CJA) Administrator to
23   appoint an attorney from the CJA Panel to represent Defendant Mota-Alvarez as soon as
24   possible.
25          //
26          //



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 1         DATED this 2nd day of June 2017.

 2                                               William M. McCool
                                                 Clerk of Court
 3
                                                 /s/Paula McNabb
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                                                 Deputy Clerk
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